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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA


RICHARD IDEN,                        )                 3:21-cv-00389-MMD-WGC
                                     )
                        Plaintiff,   )                 MINUTES OF THE COURT
        vs.                          )
                                     )                 November 23, 2021
HERNANDEZ, et al.,                   )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:         KAREN WALKER            REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       Before the court is Plaintiff’s “Request for Confirmation” (ECF No. 21). Plaintiff states he
“sent an electronic filing on the above case entitled under seal supplement to motion for
preliminary injunction” and “requests verification that the court did in fact receive it.” (Id.)

       IT IS HEREBY ORDERED that Plaintiff’s “Request for Confirmation” (ECF No. 21) is
GRANTED. Plaintiff is advised that on November 16, 2021, the court received Plaintiff’s “Under
Seal Supplement to Motion for Preliminary Injunction” (ECF No. 20).

                                             DEBRA K. KEMPI, CLERK

                                             By:         /s/______________________
                                                     Deputy Clerk
